Case 2:20-cr-00059-AWA-DEM Document 78-1 Filed 03/05/21 Page 1 of 1 PageID# 179


                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Norfolk Division


 UNITED STATES OF AMERICA                         )
                                                  )
                v.                                )           Criminal No. 2:20cr59
                                                  )
 BRIAN TAYLOR SUMNER                              )

                                              ORDER

        Upon motion of the government, with the concurrence of counsel for the defendant and

 pursuant to the Speedy Trial Act at 18 U.S.C. § 3161 et. seq., the Court finds that a continuance

 of trial in this matter is necessary due to the absence and unavailability of the defendant, and is

 expressly authorized under Section (h)(3)(A) of the Act, which states that any period of delay

 resulting from the absence or unavailability of the defendant shall be excluded in computing the

 time within which trial must commence. 18 U.S.C. § 3161(h)(3)(A). For good cause shown, the

 trial in this matter is continued generally until the defendant is apprehended and the matter

 rescheduled for trial by agreement of the Court and the parties.




                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE

 Date: ________________
